   Case 1:25-md-03143-SHS-OTW             Document 77        Filed 05/29/25     Page 1 of 2




May 29, 2025



VIA ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

cc: All Counsel of Record (via ECF)

Re:       Compliance with Preservation Order; In re: OpenAI, Inc., Copyright Infringement
          Litigation, No. 1:25-md-3143, This Document Relates to: The New York Times Company
          v. Microsoft Corporation, et al., No. 1:23-cv-11195

Dear Magistrate Judge Wang:

         We write on behalf of the OpenAI defendants to update the Court regarding OpenAI’s
efforts to comply with the order at MDL Dkt. No. 33 (“Preservation Order”), as clarified during
the recent May 27, 2025, conference. OpenAI appreciates the Court’s clarification that it did not
intend to order “wholesale preservation,” did not intend to instruct OpenAI to “stop all [its]
deletion processes,” and intends for the Preservation Order to be temporary. Afternoon Session
Hr’g Tr., 33:22–35:2, 41:10–15, May 27, 2025. OpenAI also appreciates and intends to follow
the Court’s instruction to work with the News Plaintiffs on a proposal to sample the preserved
data from ChatGPT Free, Plus, and Pro, and to meet-and-confer about ways to understand the
relevance of API data. Id. at 51:7-16, 52:8-9. In the interim, notwithstanding its objections and
the ongoing burden on OpenAI and harm to its users, OpenAI will leave in-place the mechanisms
it has implemented to comply with the Preservation Order, which (OpenAI understands) the Court
found to be sufficient. Id. at 52:8-15. Unless otherwise directed, OpenAI will not take any steps
to develop (if possible) mechanisms that would be needed to segregate and retain conversation
data for its ChatGPT Enterprise service. Id.

         In addition, OpenAI is continuing to investigate its ability to reasonably identify
conversation data for non-U.S. accounts and to exclude such data from the efforts OpenAI has
undertaken to comply with the Preservation Order. See MDL Dkt. No. 66 (Monaco Decl.) at ⁋ 7
(“OpenAI also began to investigate what would be required to identify output log data from U.S.
users . . . .”). Doing so would help to reconcile OpenAI’s compliance with the Preservation Order
with its considerable obligations under foreign law by honoring its commitments not to retain
conversation data relating to users who, based on information available, are not located in the




2979647
    Case 1:25-md-03143-SHS-OTW             Document 77        Filed 05/29/25     Page 2 of 2


Page 2



United States. See MDL Dkt. No. 67 (Kechida Decl.). While OpenAI continues to investigate
the feasibility of such a mechanism, OpenAI would appreciate the Court’s guidance as to whether
it could implement a limitation on the Preservation Order to exclude non-U.S. accounts and remain
in compliance.

                                          Respectfully,

KEKER, VAN NEST &                LATHAM & WATKINS                   MORRISON & FOERSTER
PETERS LLP1                      LLP                                LLP

/s/ Edward A. Bayley             /s/ Elana Nightingale Dawson       /s/ Joseph C. Gratz
Edward A. Bayley                 Elana Nightingale Dawson           Joseph C. Gratz


cc: All Counsel of Record (via ECF)




1
 All parties whose electronic signatures are included herein have consented to the filing of this
document.




2979647
